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Statement of: Eric Henry Allman
Taken By: Deputy B.T. Zirk
Date: Sunday, January 24, 2016
Time: 1746 hours

Q: What Happened?
A: Ev Decided to hang himself.

Q: What can you tell me about Ev?
A: He was reclusive definitely a intrivert he didn’t like authority and recently prone to
self harm.

Q: Did Ev ever talk about suicide?
A: Once actually multiple times and one when he really said suicide. He said he had tried
in the past to commit suicide.

Q: Has he made any comments about committing suicide?

A: He did today was the most recent one. He asked what would you do iff committed
suicide and I said I wouldn’t because I thought he was bluffing { didn’t think he would do
it.

Q: Is this siatement true and correct?
A: Yes.

Q& AASSOCIATES 000033
